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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

GARY ALAN SHOUPE,

               Plaintiff,

v.                                                               No. CV 20-503 BRB/CG

UNITED STATES OF AMERICA,

               Defendant.


         ORDER GRANTING UNOPPOSED MOTION TO EXTEND DEADLINES

        THIS MATTER is before the Court on Plaintiff’s Unopposed Motion to Extend

Certain Deadlines (the “Motion”), (Doc. 27), filed November 5, 2020. In the Motion,

Plaintiff explains the ongoing COVID-19 pandemic has caused unforeseen delays in the

availability of witnesses. (Doc. 27 at 1-2). As a result, Plaintiff requests to modify the

dates and deadlines set forth in the Court’s Scheduling Order, (Doc. 17). The Court,

having reviewed the Motion and noting it is unopposed, finds the Motion is well-taken

and shall be GRANTED.

        IT IS THEREFORE ORDERED that the Court’s Scheduling Order, (Doc. 17),

shall be modified as follows:

     1. The deadline for Plaintiff to submit expert reports shall be extended to December

        30, 2020;

     2. The deadline for Defendant to submit expert reports shall be extended to

        February 15, 2021;

     3. Discovery shall close on March 15, 2021.

        All other deadlines contained in the Court’s Scheduling Order, (Doc. 17), remain
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in effect unless amended by further order of the Court

      IT IS SO ORDERED.




                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE




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